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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

RALPH S. JANVEY,                              §
                                              §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §        Civil Action No. 3:15-CV-00401-N
                                              §
GMAG LLC, et al.,                             §
                                              §
                                              §
       Defendants.                            §

                            AMENDED FINAL JUDGMENT

       This case was called to trial on January 9, 2017. A jury was empaneled and returned

its verdict on January 18, 2017. Previously, the Court denied Plaintiff’s motions for

judgment as a matter of law and motion for entry of judgment and entered final judgment for

Defendants. By separate order of this same date, the Court denies Plaintiff’s renewed motion

for judgment as a matter of law and motion for new trial and grants Plaintiff’s motion to

amend or correct the judgment. Based on the jury’s verdict and the prior grant of summary

judgment for Plaintiff on the issue of Defendants’ net winnings, see Order [909] in Janvey

v. Alguire, Case No. 3:09-CV-0724-N (N.D. Tex.), the Court orders that Plaintiff take

nothing further – aside from its prior receipt of Defendants’ net winnings – by this action

against Defendants. The Court dismisses the claims with prejudice. Court costs are taxed

against Plaintiff. All relief not expressly granted is denied. This is a final judgment.




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      Signed December 13, 2017.




                                         _________________________________
                                                   David C. Godbey
                                              United States District Judge




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